 Case 19-30568      Doc 25    Filed 09/30/19 Entered 09/30/19 11:38:38     Desc Main
                                Document     Page 1 of 1


                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
                              WESTERN DIVISION

In re:
      Richard Earl Houghton                              Chapter 7
      Janet E. Houghton
                                Debtors                  Case No. 19-30568-EDK


    ORDER ON TRUSTEE’S MOTION TO EMPLOY BK GLOBAL REAL ESTATE
     SERVICES AND RIGHT KEY REALTY, INC. AS REAL ESTATE BROKERS

Upon consideration of the Chapter 7 Trustee's Motion To Employ BK Global Real Estate
Services and Teamwork Realty Group As Real Estate Brokers, no adverse interests
having been represented and sufficient reason appearing to me therefor, it is hereby

ORDERED that the Trustee's Motion To Employ BK Global Real Estate Services and
Teamwork Realty Group As Brokers is allowed. All compensation and expenses will be
subject to Court approval.




                                  _____________________________________
                                  Honorable Elizabeth D. Katz  Dated
                                  U.S. Bankruptcy Judge
